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                               CDCR Suicide Rate, 1988-2007
                                 , with Inmate Population
       35                                                                                           200
                                                                                                    180
       30
                                                                                                    160
       25                                                                                           140




                                                                                                          Population
                                                                                                    120
       20
Rate




                                                                                                    100
       15
                                                                                                    80

       10                                                                                           60
                                                                                                    40
       5
                                                                                                    20
       0                                                                                            0
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               89
               90
               91
               92
               93
               94
               95
               96
               97
               98
               99
               00
               01
               02
               03
               04
               05
               06
               07
            Suicide Rate per 100K inmates      Annual Inmate Population         Year Moving Average-5
